      Case
       t'       3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 1 of 25 Page ID #13
; state 6$ Illinois             CIRCUIT COURT FOR THE 20TH JUDICIAL CIRCUIT
                        )
County of St Clair         )
                               S.S.
                                                                                     Case Number 19L0069

                                                                                     Amount Claimed

 KATHY L. DOLPHY
                                                                                   WALMART.
                                                                           VS
                                                         Plaint! ffffs)
                                                                                                                                          Defendant(s)

  Classification Prefix                               Code                       Nature of Action                                         Code
                                                                                 TO THE SHERIFF: SERVE THIS DEFENDANT AT:
 Pltf. Attv.GARY A, MACK_________ _ Code___
 Address [O S. JACKSON SUITR inn.A                                                NAME ^^MART^                      “   >




 CkvBELLEVILLR 11.67770            Phone
 Add. Pltf. Atty. ____________________                      Code                   AOOR£SS:GT^RPOfo\TrON=                             '
                                              SUMMONS COPY                                  1208 SO LASALLE STREET SUITE 814''
         To the abov'e named defendant(s)
                                                                                   CITY & STATE CHICAGO, IL 60604


  —I-                   hereby summoned and required to appea
                                                                            r before this court at
 (court location)



SS;«^ihi^TsTn                                            “ "LVoVcf^

summons, exclusive of the dav of service If vou fail to do                                                               days after sert'ice of this
for the relief prayed in the complaint                                       '                                          may be taken again.st you


                                                                                                                an account with an ^filing service
If you need addrtional help or have trouble e-filing, visit http://www.iIlinoiscourts.gov/FAQ/gethelp.asp,


          TO THE OFFICER:                                                                         Of
indo.«emont lh=reo„ 4                    ai[d'f4Tff aoy!'rm’5S4e!y'’S«r°4«l"c*1 "thf"!" sefviM, y iih


          This summons may not be sm^ed later than 30 days after its date.

  J                                                               MTTNESS,                                                           20
                 !
                        1/25/2019
                      iJonica Lewis                                                            Clerk of Court
                                                                  BY DEPUTY:

                                                                           DATE OF SERVICjE: _______________ 20
                                                                            <To be inserted by otTicer on copy left with dereadant
                                                                                               or other persom
   Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 2 of 25 Page ID #14




       I certify that I served this summons on defendants as follows;

 (a)- (Individual defendants - personal);
      By leaving a copy of the summons and a copy of the complaint with each individual defendant personaUy
                                                                                                                       as follows;
                        Name of defendant                                                  Date of service




                                             (b) - (Individual defendants - abode):




            Name of                        Person with                     Date of                           Date of
           defendant                        whom left                      service                           mailing




                                         (c) - Clorporation defendants);
    By leaving a copy of the summons and a copy of the complaint with the registered agent office, or agent of each
defendant corporation as follows;
                                                       Registered agent,                          Date of
       Defendant corporation                            officer or agent                          service




(d) - (Other service):

                  SHERIFFS FEES
                                                                                      Sheriff of                       .(bounty
Service and return                   $
Miles__________                                                                                       Deputy
                                     $.
Total....................



Sheriff of.                               _ County
.   -i.
          Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 3 of 25 PageElectronically
                                                                                   ID #15 Filed
                                                                                                            Kahalah A. Clay
                                                                                                                Circuit Cierk
                                                                                                              Monica Lewis
                                                                                                                    19L0069
                                                                                                            St. Clair County
                                                  IN THE CIRCUIT COURT                                  1/22/2019 12:48 PM
                                               TWENTIETH JUDICIAL CIRCUrr                                           3629804
                                                 ST. CLAIR COUNTY, ILLINOIS


              KATHY L. DOLPHY                                         )
                         PLAINTIFF                                     )
                                                                       )
                                                                      )
                                                                      )     NO. 191-0069
              VS.                                                     )
                                                                      )
                                                                      )
              WALMART, INC.                                          )
              SAM’S CLUB                                             )
              WALMART, INC D/B/A                                    )
              SAM’S CLUB                                            )
              WALMART SUPERCENTER                                    )
              WAL-MART SUPERCENTER                                   )
              WALMART                                               )
              WAL-MART STORES INC.                                  )
                    DEFENDANTS                                       )

                                                      COMPLAINT
                                                        Count I

                     COMES NOW the Plaintiff Kathy L. Dolphy by and through her attorney Gary A.

             Mack and for her Count I cause of action against the Defendant Walmart, Inc. states to the Court

             as follows:

                     1.That on or about Febniary 04,2017 the PlaintifTKathy L. Dolphy is and was at all times

                    mentioned herein, a resident of St. Clair County and the state of Illinois.

                    2. That on or about February 04,2017 the Plaintiff Kathy L. Dolphy was an

                    invited guest at the Defendant Walmart, Inc.’s premises located at 1530 West High
                                                                                                     way
                    50 in the city of O’Fallon county of St. Clair, state of Illinois.

                    4. That on or about February 04,2017 the Defendant Walmart, Inc. owed and/or

                    maintained a retail store located at 1530 West Highway 50 in the city of O’Fallon
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          county of St. Clair, state of Ulinois.

          5. That at the time and place aforesaid, the Defendant Walmait, Inc. was and is a foreign

          corporation licensed to do business in the state of Illinois, The Defendant Walmart, Inc. is

          doing and conducting business in the county of St Clair, Illinois.

          6. That at the aforementioned time and place the Plaintiff Kathy L. Dolphy was

          lawfully on the premises of the Defendant Walmart, Inc. and was an invited

          guest on said premises.

          7. The Plaintiff Kathy L. Dolphy was employed by Crossmark Inc. on or about February

         04,2017.

         8. As part of her employment responsibilities with Crossmark Inc., the Plaintiff Kathy L.

         Dolphy was handing out food samples to patrons of the Defendant Walmart, Inc.

         9. During her course and scope of her employment with Crossmark Inc. the Plaintiff

         Kathy L. Dolphy was directed by the Defendant Walmart, Inc. to a back-room storage

         area in order to obtain more food samples.

         10. While in the back-room food storage area, an employee of Walmart, Inc. was

         operating a forklift.

         11. The employee of Walmart, Inc. while operating his forklift hit a stacked row of

        pallets thereby causing the pallets to faU on the Plaintiff Kathy L. Dolphy. Hiis caused

        great bodily harm to the Plaintiff Kathy L. Dolphy.

        12. That at the time and place aforesaid the Defendant Walmart, Inc. through its

        agents, servants and employees, was guilty of one some or aU of the following negligent

        acts and/or omissions:
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                                                                                         on the
                  B. Negligentiy and cai^lessly failed to warn the PlaintifFKath
                                                                                ly L. Dolphy that she
                  was being directed to d dangerous location.




          13.     at the tune and place Y<nesaid the agente, servanta and employees of the

         Defendant Walmait, Inc. were iicting within the comae and scope of

         their employment

         14. That at all times relevant he tein the Defendant Walmart, Inc. had a duty to

         maintain their premises in a safe and reasonable condition which included but
                                                                                      not limited
         to not stacking pallets in an unsafe manner and not to allow employees to opemte fotklilis
        in an unsafe, negligent and unreUmable manner.

        15. That as a direct and proxima te result of one, some or all of the aforementioned

        negligent act and/or omissions tie Plaintiff Kathy L. Dolphy was caused to be hit by

        falling pallets causing her to injure and break her left right knee and other intemai and

        external organs, the PlaintifF Kathy L. Dolphy was required to and did spend divem
                                                                                               sums
        on hospitals and physicians in curing herself and wiU in the fhtuie be required to
                                                                                             spend
       divers sums on hospitals and physicians in curing herself, the Plaintiff Kaliq' L
                                                                                        . Dolphy
       sustained great pain and mental anguish, and wUl in the future sustain great pain and

       mental anguish the Plaintiff Kathy L. Dolphy has S...U.1..-1
                                                                      permanent injuries to her right
       knee and other intemai and exten nl organs, the Plaintiff Kathy L. Dolphy has missed

       numerous working days and will n the future miss numerous working days, all to her
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            pennanent detriment in the sum in the excess of $50,000.00 dollars, plus costs of the suit.

            WHEREFORE, for all the afoi ementioned reasons, the Plaintiff Kathy L. Dolphy prays

     for a judgment against the Defendant Walmart, Inc. in a sum in the excess of $50,000.00 doUais

    plus, cost of this suit and for any othei matters the,Court deems just and equitable.


                                                    Gary A. Mack #620503^
                                                    Attorney for the Plaintiff


   Law Offices of Gary A. Mack P.C.
    10 South Jackson Street
   Suite 300-A
   Belleville, niinois 62220
   618-236-2760-phone
   618-767-6871-fax

                                                   Count IT

           COMES NOW the Plaintiff Kai hy L. Dolphy by and through her attorney Gary A.

   Mack and for Count H her cause of acti an against the Defendant Sam’
                                                                           s Club states to the Court
   as follows:

          1 .That on or about February 04, 2017 the Plaintiff Kathy L. Dolphy is and was at all times

          mentioned herein, aresident of St. Clair County and the state of Illinois.

          2. That on or about Februaiy 04; 2017 the Plaintiff Kathy L. Dolphy was an

          invited guest at the Defendant Sam’ s Club’s premises located at 1530 West Highway 50

         m the city of O’Fallon county of St. Clair, state of Illinois.

         4. That on or about Februaiy 04, 2017 the Defendant Sam’s Club owed and/or

         maimaiued a retail store located at 1530 West Highway 50 in the city of O’Fallou

         county of St. Clair, state of Dlino-is.
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          5. That at the time and place aforesaid, the Defendant Sam’s Club
                                                                               was and is a foreign
          corporation licensed to do busjness in the state of Dlinois. The Defendant Sam’s Club is

          doing and conducting business in the county of St Clair, Illinois.
                                                   i
          6. That at the aforementioned iinift and place the Plaintiff Kathy L. Dolphy was

         lawftUy on the pimises of thei Defendant Sam’s Club and was an myited

         guest on said premises.           j
                                               i

         7. The Plaintiff Kathy L. Dolphy was employed by Crossmark Inc.
                                                                               on or about February
         04,2017.                          i

         8. As part of her employment responsibilities with Crossmark Inc.
                                               i                               the Plaintiff Kathy L.
         Dolphy was handing out food s^ples to patrons of the Defendant Sam’s Club.
                                               I


         9. Dunng her course and scope ;of her employment with Crossmark Inc. the Plaintiff
                                               i
        Kathy L. Dolphy was diiected By the Defendant Sam’s Club to a back-room storag
                                                                                      earea
        in order to obtain more food samples.

        10. While in the back-room food storage area, an employee of Defendant Sam’s Club.

        was operating a forklift.      !

        11. The employee of Defendant jsam’s Club, whbe operating his forklift hit a stacked

        row of pallets thereby causing tbe pabets to fell on the PlaintiffKathy L. Dolphy. This

        caused great boddy harm to the PlaintiffKathy L. Dolphy.

        12. That at the time and place aforesaid the Defendant Sam’s Club through its
                                           i
       agents, servants and employees, |was guilty of one some or all of the following negligent

       acts and/or omissions:          i
                                           I




              B. Negligently and carelessly failed to warn the PlaintiffKathy D. Dolphy that she
Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 8 of 25 Page ID #20



                  was being directed to si dangerous location.
                                     carelessly failed to post any warning signs at or near the stack

                  D. NegUgently and carelessly directed the Plaintiff Kathy L. Dolphy to walk i-
                                                                                              man
                  area that was dangerous due to stack of pallets.
                  E. NegUgendy and carelessly aUowed an employee to operate his forklift in
                  recjaess and/or negligept manner.

          13. That at the time and place ^resaid the agents, servants and employees of the

          Defendant Sam’s Club were acting within the course and scope of

          their employment.

          14. That at all times relevant h^m the Defendant Sam’s Club had a duty to

         maimain their premises in a safe and reasonable condition which ineinded hut not limited

         to not stacking pallets in an un^e manner and not to allow employees to operate forklifts

         in an unsafe, negligent and unreasonable manner.

         15. That as a direct and proximate result of one, some or aU of the aforementioned

         negligent act and/or omissions ^e Plaintiff Kathy L. Dolphy was caused to be hit by

        falling pallets causing her to inj^ and break her left right knee and other internal and

        external organs, the Plaintiff Kathy L. Dolphy was required to and did
                                                                                 spend divers sums
        on hospitals and physicians in cliring herself and will in the future he required
                                                                                            to spend
        divers sums on hospitals and physicians in curing herself, the Plaintiff Kathy L. Dolphy

        sustained great pain and mental anguish, and will in the future sustain great pain and

        mental anguish the Plaintiff Kathy L. Dolphy has sustained permanent injuries to her right

        knee and other internal and extei nal organs, the Plaintiff Kathy L. Dolphy has missed

       numerous working days and wilj in the future miss numerous working days, aU to her

       permanent detriment in the sum |n the excess of $50,000.00 dollars, plus costs of the suit.
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            WHEREFORE, for aU the aforementioned reasons, the Plaintiff Kathy L. Dolphy prays

    for a judgment against the Defendant ?am’s Club in a sum in the excess of $50,000.00 d
                                                                                             ollais
    plus, cost of this suit and for any othaj matters the Court deems just and equitable.



                                                  Gaiy A. Mack #6205039
                                                  Attorney for the Plaintiff



   Law Offices of Gary A. Mack P.C.
   10 South Jackson Street
   Suite 300-A
   Belleville, Illinois 62220
   618-236-2760-phone
   618-767-6871-fax

                                           Cdunt in

           COMES NOW the Plaintiff Kaljhy L. Dolphy by and through her attorney Gaiy A.

   Mack and for Count m her cause of action against the Defendant Walmart, Inc dd>/a Sam’s Club

   states to the Court as follows;

           1.Hat on or about Februaiy 04,2017 the PlaiutiirKathy L. Dolphy is and was at aU times

          mentioned herein, a resident of St Clair County and the state of Illinois.
                                           I

          2. That on or about Februaiy 04,i 2017 the Plaintiff Kathy L. Dolphy was an

          mvited guest at the Defendant ^^alrnart, Inc. dfo/a Sam’s Club’s premises located at 1530

          West Highway 50 in the city of 6’Fallon county of St. Clair, state of Illinois.
                                           I
          4. That on or about Februaiy 04, |2017 the Defendant Walmart, Inc. dfo/a Sam’s Club

         owed and/or maintained a retail Lre located at 1530 West Highway 50 in the city of

         O’FaUon county of St. Clair, state of Illinois.

         5. That at the time and place aforesaid, the Defendant Walmart Inc. dfo/a Sam’s Club was
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          and IS a foreign coiporation licensed to do business in the state of Illinois. The Defendant

          Wahnart, Inc d/b/a Sam’s Club is doing and conducting business in the county of St

          Clair, Illinois.

          6. That at the aforementioned time and place the Plaintilf Kathy L. Dolphy was

          lawfuUy on the premises of the Defendant Wahnart, Inc. (iT,/a Sam’s Club and waJ an

          invited guest on said premises.!

          7. The Plaintiff Kathy L. Dolphy was employed by Crossmark Inc. on or about February

          04,2017.

         8. As part of her employment responsibilities with Crossmark Inc., the Plaintiff Kathy L.

         Dolphy was handing out food samples to patrons of the Defendant Wahnart, Inc. d^/a

         Sam’s Club.

         9. During her course and scopedf her employment with Crossmark Inc. the Plaintiff

         Kathy L. Dolphy was directed by the Defendant Wahnart, Inc. dAy/a Sam’s Club to a

         back-room storage area in order to obtain more food samples.

         10. While m the back-room food storage area, an employee of Defendant Wahnart, Inc.

         d/b/a Sam’s Club was operating a forklift

         11. The employee of Defendant Wahnart Inc. d/b/a Sam’s Club while operating his

        forklift hit a stacked row of pallets thereby causing the pallets to fell on the Plaintiff

        Kathy L. Dolphy. This caused great bodily harm to the Plaintiff Kathy L. Dolphy.

        12. That at the time and place aforesaid the Defendant Walmart Inc. d^/a Sam’s Club

        through its agents, servants and employees, was guilty of one some or all of the following

        negligent acts and/or omissions:
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                  A. Negligentiy and carelessly raaintamed a dangerous stack of pallets on the
                  Defendant’s premises.
                  B. NegUgendy and carelessly failed to warn the Plaintiff Kathy D. Dolphy that she
                  was being directed to a dangerous location.
                  C. Negligently and carelessly failed to post any warning signs at or near the stack
                  of pallets.
                  C. Negligently and carelessly directed the PlaintifFKathy L. Dolphy to walk in an
                  area that was dangerous due to stack of pallets.
                  D. Negligently and carelessly allowed an employee to operate his forklift in
                  reckless and/or negligent maimer.

          13. That at the time and place aforesaid the agents, servants and employees of the

          Defendant Walmart, Inc. <hTj/aSam’s Club were acting within the course and scope of

          their employment

          14. That at aU times relevant herein the Defendant Walmart, Inc d/b/a Sam’s Club, had a

          duty to maintain their premises in a safe and reasonable condition which included but not

          limited to not stacking pallets in an unsafe manner and not to aUow employees to operate

         forkhfts in an unsafe, negligent- and unreasonable manner.

          15. That as a direct and proximate result of one, some or aU of the aforementioned

         negUgent act and/or omissions the Plaintiff Kathy L. Dolphy was caused to be hit by

         falling pallets causing her to injure and break her left right knee and other internal and

         external organs, the Plaintiff Kathy L. Dolphy was required to and did spend divers sums

         on hospitals and physicians in curing herself and will in the future be required to spend

         divers sums on hospitals and physicians in curing herself, the Plaintiff Kathy L. Dolphy

         sustained great pain and mental anguish, and will in the future sustain great pain and

         mental anguish the Plaintiff Kathy L. Dolphy has sustained permanent injuries to her right

        knee and other internal and external organs, the Plaintiff Kathy L. Dolphy has missed

        numerous working days and will in the future miss numerous working days, all to her
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             pennanent detriment in the sum in the excess of $50,000.00 doUais, plus costs of the suit.

             WHEREFORE, for all the aforementioned reasons, the Plaintiff Kathy L. Dolphy prays

     for a judgment against the Defendant Walmart. Ine. d^/a Sam's Club in a sum in the excess of

     $50,000.00 doham plus cost of this suit and for any other mattem the Court deems just and

    equitable.


                                                  Gary A. Mack #6205039
                                                  Attorney for the Plaintiff

    Law Offices of Gary A. Mack P.C.
    10 South Jackson Street
    Suite 300-A
    Belleville, Illinois 62220             i
    618-236-2760-phone                     *
    618-767-6871-fax


                                        Country

           COMES NOW the PlaintifFKaay L. Dolphy by and through her attorney Gary A.

   Mack and for Count IV her cause of action against the Defendant Walmart Super Center

   states to the Court as follows:

          1 .That on or about February 04.2017 the Plaintiff Kathy L. Dolphy is and
                                                                                      was at all times
          mentioned herein, a resident of St Clair County and the state of Dlinois.
          2. TTiat on or about February 04,|2017 the Plaintiff Kathy L. Dolphy was an

          mvited guest at the Defendant Walmart Super Center premises located at 1530

          West Highway 50 in the city of O’FaUon county of St. Clair, state of Illinois.

         3. That on or about February 04,2017 the Defendant Walmart Super Center

         owed and/or maintained a retail store located at 1530 West Highway 50 in the city of
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           O’Fallon county of St Clair, state of Illinois.

           5. Tliat at the time and place aforesaid, the Defendant Wahnart Super Center was

           and is a foreign corporation licensed to do business in the state of Illinois. The Defendant

           Wahnart Super Center is doing and conducting business in the
                                                                            county of St Clair,
          Illinois.

          6. That at the aforementioned time and place the Plaintiff Kathy L. Dolphy was

          lawfully on the premises of the Defendant Wahnart Super Center and Was an

          invited guest on said premises.

          7. The PlaintifiFKathy L. Dolphy was employed by Crossmark Inc. on or about February

          04,2017.

          8. As part of her employment responsibilities with Crossmark Inc., the Plaintiff Kathy L.

          Dolphy was handing out food samples to patrons of the Defendant Wahnart Super Center.

         9. During her course and scope of her employment with Crossmark Inc. the Plaintiff

         Kathy L. Dolphy was dir^ted by the Defendant Wahnart Super Center to a back-room

         storage area in order to obtain more food samples.

         10. While m the back-room food storage area, an employee of Wahnart Super Center was

         operating a forklift.

         11. The employee of Defendant Wahnart Super Center while operating his forklift hit a

         Stacked row of pallets thereby causing the pallets to fall on the Plaintiff Kathy L. Dolphy.

         This caused great bodily harm to the Plaintiff Kathy L. Dolphy.

         12. That at the time and place aforesaid the Defendant Wahnart Super Center through its

        agents, servants and employees, was guilty of one some or all of the foUowing negligent

        acts and/or omissions:
Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 14 of 25 Page ID #26




                   A. NegUgently and carelessly maintained a dangerous stack of paUets on the
                  Defendant’s premises.
                  B. Negligentiy and carelessly failed to warn the PlaintifFKaihy L. Dolphy that she
                  was bemg directed to a dangerous location.
                  C Negligently and carelessly foiled to post any warning signs at or near the stack
                  ot pallets.
                  C. NegUgently and carelessly directed the Plaintiff Kathy L. Dolphy to walk in an
                  area that was dangerous due to stack of pallets.
                  D. Negligently and carelessly allowed an employee to operate his forkUft in
                  reckless and/or negligent manner.

          13. That at the time and place aforesaid the agents, servants and employees of the

          Defendant Walmart Super Center were acting within the course and scope of

          their employment

          14. That at all times relevant herein the Defendant Walmart Super Center had a duty to

          maintain their premises in a safe and reasonable condition which included but
                                                                                           not limited
         to not stacking paUets in an unsafe manner and not to allow employees to operate forklifts

         in an unsafe, negligent and unreasonable manner.

         15. That as a direct and proximate result of one, some or aU of the aforementioned

         negUgent act and/or omissions the Plaintiff Kathy L. Dolphy was caused to be hit by

         falling paUets causing her to injure and break her left right knee and other internal and

         external organs the Plaintiff Kathy, L. Dolphy was required to and did spend di
                                                                                           vers sums
         on hospitals and physicians in curing herself and wiU in the future be required to spend

         divers sums on hospitals and physicians in curing herself, the Plaintiff Kathy L. Dolphy

        sustained great pain and mental anguish, and wiU in the future sustain great pain and

        mental anguish the Plaintiff Kathy L. Dolphy has sustained permanent injuries to her
                                                                                                right
        knee and other internal and external organs, the Plaintiff Kathy L. Dolphy has missed

        numerous working days and wiU in the future miss numerous working days, aU to her
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            permanent detriment in the sum in the excess of $50,000.00 dollars, plus costs of the suit

            WHEREFORE, for all the aforementioned reasons, the Plaintiff Kathy L. Dolphy prays

    for a judgment against the Defendant Walmart Super Center in a sum in the
                                                                                  excess of $50,000.00
    dollars plus cost of this suit and for any other matters the Court deems just and equitable.



                                                  Gary A. Mack #6205039
                                                  Attorney for the Plaintiff


    Law Offices of Gary A. Mack P.C.
    10 South Jackson Street
    Suite 300-A
    Belleville, Illinois 62220
    618-236-2760-phone
    618-767-6871-fax


                                         Count V

           COMES NOW the Plaintiff Kathy L. Dolphy by and through her attorney Gary A.

   Mack and for Count V her cause of action against the Defendant Wal-Mart Super Center

   states to the Court as follows:

           1.That on or about February 04,2017 the Plaintiff Kathy L. Dolphy is and was at aU times

          mentioned herein, a resident of St. Clair County and the state of niinois.

          2. That on or about February 04,2017 the Plaintiff Kathy L. Dolphy was an

          invited guest at the Defendant Wal-Mart Super Center premises located at 1530

          West Highway 50 in the city of O’FaUon county of St. Clair, state of Illinois.

          3. That on or about February 04,2017 the Defendant Wal-Mart Super Center

         owed and/or maintained a retail store located at 1530 West Highway 50 in the city of
Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 16 of 25 Page ID #28




           O’FaUon county of St. Clair, state of lUinois.

           5. That at the time and place aforesaid, the Defendant Wal-Mart Super Center was

           and IS a foreign corporation licensed to do business in the state of Illinois. The Defendant

           Wal-Mart Super Center is doing and conducting business in the county of St Clair,

          Illinois.

          6. That at the aforementioned time and place the PlaintiirKathy L. Dolphy was

          lawfully on the premises of the Defendant Wal-Mart Super Center and was an

          invited guest on said premises.

          7. The PlaintifFKathy L. Dolphy was employed by Crossmark Inc. on or about February

          04,2017.

          8. As part of her employment responsibilities with Crossmark Inc., the PlaintifFKathy L.

         Dolphy was handing out food samples to patrons of the Defendant Wal-Mart S
                                                                                          uper
         Center.

         9. During her course and scope of her employment with Crossmaik Inc. the Plamtiff

         Kathy L. Dolphy was directed hy the Defendant Wal-Mart Super Center to a back-
                                                                                       room
         Storage area in order to obtain more food samples.

         10. While in the back-room food storage area, an employee of Wal-Mart Super Center

        was operating a forklift

        11. The employee of Wal-Mart Super Center while operating his forklift hit a stacked
        row of pallets thereby causing the paUets to fall on the Plaintiff Kathy L. Dolphy. This

        caused great bodily harm to the Plaintiff Kathy L. Dolphy.

        12. That at the time and place aforesaid the Defendant Wal-Mart Super Center through its

        agents, servants and employees, was guilty of one some or all of the following neghgent
Case 3:19-cv-00291-SMY-MAB Document 1-3 Filed 03/12/19 Page 17 of 25 Page ID #29




           acts and/or omissions:

                   A. NegUgently and carelessly maintained a dangerous stack of pallets on the
                   Defendant’s premises.
                   B. Ne^gentiy and carelessly foiled to warn the Plaintiff Kathy L. Dolphy that she
                  was bemg directed to a dangerous location.
                  C NegUgently and carelessly foiled to post any warning signs at ornear the stack
                  or pauets.
                  C. Nepgently and carelessly directed the Plaintiff Kathy L. Dolphy to walk in ai
                  area that was dangerous due to stack of pallets.
                  D. Negligently and carelessly allowed an employee to operate his forklift in
                  reckless and/or negligent manner.

          13. That at the time and place aforesaid the agents, servants and employees of the

          Defendant Wal-Mart Super Center acting within the course and scope of

          their employment

          14. That at all times relevant herein the Defendant Wal-Mart Super Center had a duty to

         mamtain their premises in a safe and reasonable condition which included but not limited

         to not stacking paUets in an unsafe manner and not to allow employees to operate forklifts

         in an unsafe, negUgent and unreasonable maimer.

         15. That as a direct and proximate result of one, some or all of the aforementioned

         negligent act and/or omissions the Plaintiff Kathy L. Dolphy was caused to be hit by

         foUing paUets causing her to injure and break her left right knee and other internal and

         external organs, the Plaintiff Kathy L. Dolphy was required to and did spend divers sums

         on hospitals and physicians in curing herself and will in the future be required to spend

        divers sums on hospitals and physicians in curing herself, the Plaintiff Kathy L. Dolphy

        sustained great pain and mental anguish, and wiU in the future sustain great pain and

        mental anguish the Plaintiff Kathy L. Dolphy has sustained peimanent injuries to her right

        knee and other internal and external organs, the Plaintiff Kathy L. Dolphy has missed
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            numerous working days and will in the future miss numerous working days, all to her

           pennanent dariment in the sum in the excess of $30,000,00 dollais, plus costs of the suit
            WHEREFORE, for all the aforementioned reasons, the Plaintiff Kathy L. Dolphy p
                                                                                               rays
   for a judgment against the Defendant Wal-Mart Super Center in a sum in the
                                                                                 excess of
   $50,000.00 doUars plus cost of this suit and for an
                                                      y other matters the Court deems just and
   equitable.


                                                 Gary A. Mack #6205039
                                                 Attorney for the Plaintiff

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   10 South Jackson Street
   Suite 300-A
   Belleville, Illinois 62220
   618-236-2760-phone
   618^767-6871-fax


                                        Count VI
         COMES NOW the Plaintiff Kathy L. Dolphy by and threugh her attorney Gao- A.
  Mack and for her Count VI cause of action against the Defendant Walmart. Inc. states to the

  Court as follows:

         1.That on or about Februao 04,2017 the Plaintiff Kathy L. Dolphy is and tvas at all h mes

         mentioned herein, a resident of St Clair County and the stale of Illinois.

         2. That on or about Febrttaty 04,2017 the Plaintiff Kathy L. Dolphy was an
        invited guest at the Defendant Walmart’s premises located at 1530 West Highway

        50 m the ctty of O’Fallon county of St Clair, state of Illinois.

        4. That on or about Febniary 04,2017 the Defendant Walmart owed and/or
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          maintained a retail store located at 1530 West Highway 50 in the city of O’Fallon

          county of St. Clair, state of Illinois.

          5. That at the time and place aforesaid, the Defendant Walmart was and is a foreign

          corporation licensed to do business in the state of Dlinbis. The Defendant Wahhart, Inc. is

          doing and conducting business in the county of St Clair, Illinois.

          6. That at the aforementioned time and place the PlaintifT Kathy L. Dolphy was

          lawMly oh the premises of the Defendant Walmart and was an invit©!

          guest on said premises.

          7. The Plaintilf Kathy L. Dolphy was employed by Crossmark Inc. on or about February

          04,2017.

          8. As part of her employment responsibilities with Crossmark Inc., the Plaintiff Kathy L.

          Dolphy was handing out food samples to patrons of the Defendant Walmart

          9. During her course and scope of her employment with Crossmark Inc. the Plaintiff

          Kathy L. Dolphy was directed by the Defendant Walmart to a back-room storage

          area in order to obtain more food samples.

          10. While in the back-room food storage area^ an employee of Walmart. was

          operating a forklift.

          11. The employee of Walmart, Inc. while operating his forklift hit a stacked row of

          pallets thereby causing the pallets to fall on the Plaintiff Kathy L. Dolphy. This caused

          great bodily harm to the Plaintiff Kathy L. Dolphy.

          12. That at the time and place aforesaid the Defendant Wahnart through its

          agents, servants and employees, was guilty of one some or all of the following negligent
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          acts and/or omissions:

                  A. Negligently and carelessly maintained a dangerous stack of pallets on the
                  Defendant’s premises.
                  B. Negligently and carelessly failed to warn the Plaintiff Kathy L. Dolphy that she
                  was being directed to a dangerous location.
                  C. Negligently and carelessly failed to post any warning signs at or near the stack
                  of pallets.
                  D. Negligently and carelessly directed the Plaintiff Kathy L. Dolphy to walk in an
                  area that was dangerous due to stack of pallets.
                  E. Negligently and carelessly allowed an employee to operate his forklift in
                  reckless and/or negligent manner.

          13. That at the time and place aforesaid the agents, servants and employees of the

          Defendant Walmart were acting within the course and scope of

          their employment

          14. That at all times relevant herein the Defendant Walmart had a duty to

          maintain their premises in a safe and reasonable condition which included but not limited

          to not stacking pallets in an unsafe manner and not to allow employees to operate forklifts

          in an unsafe, negligent and unreasonable marmer.

          15. That as a direct and proximate result of one, some or all of the aforementioned

          negligent act and/or omissions the Plaintiff Kathy L. Dolphy was caused to be hit by

          falling pallets causing her to injure and break her left right knee and other internal and

          external organs, the Plaintiff Kathy L. Dolphy was required to and did spend divers sums

          on hospitals and physicians in curing herself and will in the future be required to spend

         divers sums on hospitals and physicians in curing herselft the Plaintiff Kathy L. Dolphy

         sustained great pain and mental anguish, and will in the future sustain great pain and

         mental anguish the Plaintiff Kathy L. Dolphy has sustained permanent injuries to her right

         knee and other internal and external organs, the Plaintiff Kathy L. Dolphy has missed
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            numerous working days and will in the future miss numerous working days, all to her

           permanent detriment in the sum in the excess of $50,000.00 dollars, plus costs of the suit

           WHEREFORE, for all the aforementioned reasons, the Plaintiff Kathy L. Dolphy prays

    for a judgment against the Defendant Walmart in a sum in the excess of $50,000.00 dollars

    plus, cost of this suit and for any other matters the Court deems just and equitable.


                                                  Gaiy A. Mack #6205039
                                                  Attorney for the Plaintiff



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   Suite 300-A
   Belleville, Illinois 62220
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                                            vn
          COMES NOW the Plaintiff Kathy L. Dolphy by and through her attorney Gary A.

   Mack and for her Count I cause of action against the Defendant Wal-Mart Stores, Inc. states to

   the Court as follows:

          1 .That on or about February 04,2017 the Plaintiff Kathy L. Dolphy is and was at aU times

          mentioned herein, a resident of St Clair County and the state of Illinois.

          2. That on or about February 04,2017 the Plaintiff Kathy L. Dolphy was an

          invited guest at the Defendant Wal-Mart Stores, Inc.’s premises located at 1530 West

          Highway 50 in the city of O’Fallon county of St Clair, state of IlUnois.

          4. That on or about February 04,2017 the Defendant Wal-Mart Stores, Inc. owed and/or

          maintained a retail store located at 1530 West Highway 50 in the city of O’Fallon
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          county of St. Clair, state of niinois.

          5. That at the time and place aforesaid, the Defendant Wal-Mart Stores, Inc. was and is a

          foreign corporation licensed to do business in the state of lUinois. The Defendant

          Walmart, Inc. is doing and conducting business in the county of St Clair, Illinois.

          6. That at the aforementioned time and place the Plaintiff Kathy L. Dolphy was

         lawfiilly on the premises of the Defendant Wal-Mart Stores, Inc. and was an invited

         guest on said premises.

         7. The Plamtiff Kathy L. Dolphy was employed by Crossmark Inc. on or about Februaiy

         04,2017.

         8. As part of her employment responsibilities with Crossmark Inc., the Plaintiff Kathy L.

         Dolphy was handing out food samples to patrons of the Defendant Wal-Mart Stores, Inc.

         9. During her course and scope of her employment with Crossmark Inc. the Plaintiff

         BCathy L. Dolphy was directed by the Defendant Wal-Mart Stores, Inc. to a back-room

        storage area in order to obtain more food samples.

         10. While in the back-room food storage area, an employee of Wal-Mart Stores, Inc.
                                                                                                was
        operating a forklift.

        11. The employee of Wal-Mart Stores, Inc. while operating his forklift hit a stacked row

        ofpallets thereby causing the paUets to fall on the Plaintiff Kathy L. Dolphy. This caused

        great bodily harm to the Plaintiff Kathy L. Dolphy.

        12. That at the time and place aforesaid the Defendant Wal-Mart Stores, Inc. through its

        agents, servants and employees, was guilty of one some or all of the following negligent

        acts and/or omissions:
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                 A. NegUgently and carelessly maintained a dangerous stack of pallets on the
                 Defendant’s premises.
                 B. Negligently and carelessly failed to warn the Plaintiff Kathy L. Dolphy that she
                 was being directed to a dangerous location.
                 C. Negligently and carelessly failed to post any warning signs at or near the stack
                 of pallets.
                 D. NegUgently and carelessly directed the Plaintiff Kathy L. Dolphy to walk in an
                 area that was dangerous due to stack of pallets.
                 E. NegUgently and carelessly aUowed an employee to operate his forkUft in
                 reckless and/or negUgent manner.

         13. That at the time and place aforesaid the agents, servants and employees of the

         Defendant Wal-Mart Stores, Inc. were acting within the course and scope of

         their employment.

         14. That at all times relevant herein the Defendant Wal-Mart Stores, Inc. had a duty to

         maintain their premises in a safe and reasonable condition which included but not Umited

         to not stacking paUets in an unsafe maimer and not to allow employees to operate forklifts

         in an unsafe, negUgent and unreasonable manner.

         15. That as a direct and proximate result ofone, some or aU ofthe aforementioned

        negUgent act and/or omissions the Plaintiff Kathy L. Dolphy was caused to be hit by

        falling paUets causing her to injure and break her left right knee and other internal and

        external organs, the Plaintiff Kathy L. Dolphy was required to and did spend divers sums

        on hospitals and physicians in curing herself and wUl in the future be required to spend

        divers sums on hospitals and physicians in curing herself^ the Plaintiff Kathy L. Dolphy

        sustained great pain and mental angmsh, and wiU in the future sustain great pain and

        mental anguish the Plaintiff Kathy L. Dolphy has sustained permanent injuries to her right

        knee and other internal and external organs, the Plaintiff Kathy L. Dolphy has missed

        numerous working days and wiU in the future miss numerous working days, aU to her
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            pennanent detriment in the sum in the excess of $50,000.00 dollars, plus costs of the suit.

            WHEREFORE, for all the aforementioned reasons, the Plaintiff Kathy L. Dolphy prays

    for a judgment against the Defendant Wal-Mart Stores, Inc. in a sum in the excess of $50,000.00

    dollars plus, cost of this suit and for any other matters               just and equitable.


                                                   Gary A. Mack #6205039^
                                                   Attorney for the Plaintiff


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              IN THE CIRCUIT COURT FOR THE TWENTIETH JUDICIAL CIRCUIT
                              ST. CLAIR COUNTY, ILLINOIS




    KATHY L. DOLPHY                                        )
                                                            )
                       PLAINTIFF                             )
                                                             )
    VS                                                        )
                                                              )
                                                              )     NO.
                                                              )
    WALMART INC. ET AL                                        )
    DEFENDANTS                                                 )


                                             AFFIDAVIT

           This Affidavit is made pursuant to Supreme Court Rule 222(b). Under the penalties of
   pequry as provided by Section 1-109 of the Code of Civil Procedure, the undersigned certifies
   that the money damages sought by the PlaintifFherein does exceed $50,000.00.




                                                       Gary A. Mack #6205639
                                                       Attorney for the Plaintiff


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